Case 2:21-cv-05201-RGK-AGR Document 1 Filed 06/25/21 Page 1 of 5 Page ID #:1




  1 Jennifer Bergh (State Bar No. 305219)
  2 jbergh@qslwm.com
    Quilling, Selander, Lownds,
  3 Winslett & Moser, P.C.
  4 2001 Bryan Street, Suite 1800
    Dallas, TX 75021
  5 (214) 560-5460
  6 (214) 871-2111 Fax
    Counsel for Trans Union LLC
  7
  8
  9                           UNITED STATES DISTRICT COURT
 10                          CENTRAL DISTRICT OF CALIFORNIA
 11
    JONATHAN EHLERS and MONICA                       Case No. 2:21-cv-05201
 12 EHLERS,
 13             Plaintiffs,                          DEFENDANT TRANS UNION
 14 v.                                               LLC’S NOTICE OF REMOVAL
 15 DISCOVER BANK, TRANS UNION
    LLC, and EXPERIAN INFORMATION
 16 SOLUTIONS, INC.,
 17                Defendants.
 18               Defendant Trans Union LLC (“Trans Union”) files this Notice of Removal
 19 pursuant to 28 U.S.C. § 1446(d) and in support thereof would respectfully show the
 20 Court as follows:
 21                             I.   PROCEDURAL BACKGROUND
 22               1.   On or about May 19, 2021, Plaintiffs Jonathan Ehlers and Monica
 23 Ehlers (“Plaintiffs”) filed the Complaint in this action in the Superior Court of
 24 California, County of Los Angeles, Case No. 21STCV18980 (“State Court Action”),
 25 alleging violations of the Fair Credit Reporting Act, 15 U.S.C. §§ 1681, et seq.,
 26 against Trans Union, Discover Bank (“Discover”), and Experian Information
 27
 28
                                                 1
      5060052.2
Case 2:21-cv-05201-RGK-AGR Document 1 Filed 06/25/21 Page 2 of 5 Page ID #:2




  1 Solutions, Inc. (“Experian”) (collectively, “Defendants”). Discover was dismissed
  2 on June 21, 2021.
  3               2.     The time period for filing a responsive pleading in the Superior Court
  4 Action has not expired as of the filing of this Notice of Removal. No orders have
  5 been entered in the State Court Action as of the filing of this Notice of Removal.
  6               3.     Trans Union was served with Plaintiffs’ Complaint on May 27, 2021.
  7 This Notice of Removal is being filed within the thirty (30) day time period required
  8 by 28 U.S.C. § 1446(b).
  9                               II.   GROUNDS FOR REMOVAL
 10               4.     The present suit is an action over which this Court has original
 11 jurisdiction pursuant to 28 U.S.C. § 1331, as it is a civil action founded on a claim
 12 or right arising under the laws of the United States and may be removed to this Court
 13 by Defendant pursuant to the provisions of 28 U.S.C. § 1446(b). In the Complaint,
 14 Plaintiffs seek damages for Defendant’s alleged violations of the Federal Fair Credit
 15 Reporting Act, 15 U.S.C. § 1681, et seq. Removal is thus proper because Plaintiffs’
 16 claims present a federal question. 28 U.S.C. §§ 1331 and 1441(a).
 17               III.   COMPLIANCE WITH PROCEDURAL REQUIREMENTS
 18               5.     Pursuant to 28 U.S.C. § 1446(b), this Notice is being filed with this
 19 Court within thirty (30) days after Defendant Trans Union LLC was first served with
 20 the Complaint, the initial pleading setting forth the claims for relief upon which
 21 Plaintiffs’ action is based.
 22               6.     Pursuant to 28 U.S.C. § 1441(a), venue of the removal action is proper
 23 in the Central District of California, Southern Division because it is in the district
 24 and division embracing the place where the state court action is pending.
 25               7.     Promptly after the filing of this Notice of Removal, Trans Union shall
 26 give written notice of the removal to the Plaintiff sand will file a copy of this Notice
 27 of Removal with the Superior Court of California, County of Orange, as required by
 28 28 U.S.C. § 1446(d).
                                                     2
      5060052.2
Case 2:21-cv-05201-RGK-AGR Document 1 Filed 06/25/21 Page 3 of 5 Page ID #:3




  1               8.    Pursuant to 28 U.S.C. § 1446(a), a copy of all process, pleadings, and
  2 orders served upon Defendant Trans Union in the State Court Action is attached
  3 hereto as Exhibit A.
  4               9.    Trial has not commenced in the Superior Court of California, County
  5 of Los Angeles.
  6               10.   All Defendants, who have been served upon the date of filing this
  7 Notice of Removal, consent to the removal of this case. A Joinder in the Removal
  8 from Experian is attached hereto as Exhibit B.
  9               WHEREFORE, Trans Union respectfully prays that the action be removed to
 10 this Court and that this Court assume full jurisdiction as if it had been originally filed
 11 here.
 12 DATED: June 25, 2021                       QUILLING, SELANDER, LOWNDS,
 13                                            WINSLETT & MOSER, P.C.
 14
 15                                            By: /s/ Jennifer Bergh
                                                 Jennifer Bergh
 16
                                                 Counsel for Trans Union LLC
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                    3
      5060052.2
Case 2:21-cv-05201-RGK-AGR Document 1 Filed 06/25/21 Page 4 of 5 Page ID #:4




  1                                  CERTIFICATE OF SERVICE

  2 STATE OF TEXAS, COUNTY OF DALLAS
  3        At the time of service, I was over 18 years of age and not a party to this
  4 action. I am employed in the County of Dallas, State of Texas. My business address
    is 2001 Bryan Street, Suite 1800, Dallas, TX 75021.
  5
  6        On June 25, 2021, I served true copies of the following document(s) described
    as DEFENDANT TRANS UNION LLC’S NOTICE OF REMOVAL on the
  7 interested parties in this action as follows:
  8                               SEE ATTACHED SERVICE LIST
  9
                  BY CM/ECF NOTICE OF ELECTRONIC FILING: I caused said
 10               document(s) to be served by means of this Court’s electronic transmission of
 11               the Notice of Electronic Filing through the Court’s transmission facilities, to
                  the parties and/or counsel who are registered CM/ECF Users set forth in the
 12               service list obtained from this Court.
 13
          I declare under penalty of perjury under the laws of the United States of
 14 America that the foregoing is true and correct and that I am employed in the office
    of a member of the bar of this Court at whose direction the service was made.
 15
 16 Executed on June 25, 2021, at Dallas, Texas.
 17
 18                                               /s/ Jennifer Bergh
 19                                               Jennifer Bergh

 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                     4
      5060052.2
Case 2:21-cv-05201-RGK-AGR Document 1 Filed 06/25/21 Page 5 of 5 Page ID #:5




  1                                 SERVICE LIST
  2
  3    Todd M. Friedman                        Ani Ghazikhanian
       tfriedman@toddflaw.com                  aghazikhanian@jonesday.com
  4    Adrian R. Bacon                         Jones Day
  5    abacon@toddflaw.com                     3161 Michelson Dr, Suite 800
       Law Offices of Todd M. Friedman, P.C.   Irvine, CA 92612
  6    21550 Oxnard Street, Suite 780          (949) 553-7562
  7    Woodland Hills, CA, 91367               Counsel for Experian Information
       (323) 306-4234                          Solutions, Inc.
  8    (866) 633-0228 Fax
  9    Counsel for Plaintiffs

 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                           5
      5060052.2
